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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                     CASE NO. 5:17-CR-00221-01

  VERSUS                                       JUDGE HICKS

  HERLIN JEOVANNI                              MAGISTRATE JUDGE HORNSBY
  PORTILLO-GOMEZ (01)

                          MINUTES OF COURT IN LAFAYETTE
                                     Sentencing
  Date:               December 4, 2017     Presiding: Judge S. Maurice Hicks
  Court Opened:        4:00 P.M.           Courtroom Deputy: Denise McDonnell
  Court Adjourned:     4:20 P.M.           Court Reporter:     Marie Runyon
  Statistical Time:   00:20


                                    APPEARANCES
   Tiffany E. Fields (AUSA)               For   United States of America
   J. Antonio Florence (CJA)              For   Herlin Portillo-Gomez, Defendant
   Herlin Portillo-Gomez, Defendant             Defendant in Custody
   Laura Addington                              Interpreter


                                     PROCEEDINGS
  PROCEEDINGS:
  Defendant and counsel advised the Court that they have read the Presentence Report
  Defendant advised of right to appeal


 The Court adopts the factual findings of the Probation Office as contained in the
 Presentencing Report and its addendum.

 Pursuant to the Sentencing Reform Act of 1984 and in accordance with 18 U.S.C.
 §3553(a), the Defendant is hereby committed to the custody of the Bureau of Prisons
 for a term of 8 months as to Counts One, with credit for time served from August 17,
 2017. The Defendant is remanded to the custody of the U.S. Marshal.

 The U.S. Sentencing Commission has recommended that defendants with the
 possibility of deportation not be placed on supervised release. Upon completion of his
 term of imprisonment, it is ordered that the defendant shall be transferred to the custody
 of Immigration and Customs Enforcement Agency (ICE) officials for deportation
 proceedings. The defendant is ordered not to return to the United States illegally.
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 The Defendant was ordered to pay a special assessment of $100 to the Crime Victim
 Fund. No fine is ordered.

 The Defendant is notified of the right to appeal. If a notice of appeal is filed under 18
 U.S.C. §3742, a Review of Sentence, the Clerk is directed to transmit the Presentence
 Report, under seal, to the Court of Appeals. If Defendant wishes to appeal, the Federal
 Public Defender’s Office is appointed to prosecute said Notice of Appeal.
